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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                              §
                                                       § CASE NO. 4:23-cr-218
 v.                                                    §
                                                       §
 (1) HARDIK JAYANTILAL PATEL,                          §
     aka Erik aka Mitesh aka Nick aka Dev, and         §
                                                       §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                     §
            Defendants.                                §

                                            ORDER

       Pending before the Court is the Government’s Motion to Transfer Case and Motion to

Expedite. For reasons stated in the motion, the Court finds that judicial economy will be served by

transfer of this case to the docket of U.S. District Court Judge Andrew S. Hanen, who is presiding

over the related case of United States v. Sohil Vahora et al., 4:22-cr-440. The Court therefore

GRANTS the motion to expedite and GRANTS the motion to transfer case.

       Signed in Houston, Texas, on ______________________, 2023.



                                             _______________________________
                                             Charles R. Eskridge III
                                             United States District Judge




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